                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York



                                                     86 Chambers Street, 3rd floor
                                                     New York, New York 10007


                                                     March 14, 2025

BY ECF
The Honorable Jesse M. Furman
Thurgood Marshall Courthouse
40 Centre Street, Room 2202
New York, New York 10007

       Re:     Khalil v. Joyce, et al., 25 Civ. 1935 (JMF)

Dear Judge Furman:

        Pursuant to the Court’s Order (ECF. No. 29), the parties submit this joint letter to
propose next steps, including an expedited schedule for additional motion practice. The
parties were unable to agree on a schedule, accordingly each parties’ proposed schedule is
set forth below.

        Petitioner presently intends to file two additional motions: a motion for bail
seeking his immediate release pursuant to Mapp v. Reno, 241 F.3d 221 (2d Cir 2001), and
a motion for preliminary injunctive relief. As discussed at the March 12 hearing and as
this Court’s order reflects, there is a need for “an expedited schedule” in light of the
extraordinary circumstances presented in this case and the ongoing irreparable harm
Petitioner is experiencing. ECF 29; see also Hearing Tr. 15:10-21. Accordingly,
Petitioner respectfully proposes the following reasonable schedules:

       Petitioner’s bail motion pursuant to Mapp v. Reno

   1. Petitioner files Friday 3/14 by 11:59pm

   2. Respondents file any opposition Monday 3/17 by 5pm

   3. Petitioner files reply Tuesday 3/18 by 11:59pm

       Petitioner’s motion for a preliminary injunction

   1. Petitioner files Monday 3/17 by 5pm

   2. Respondents file any opposition the following Monday 3/24 by 12pm
   3. Petitioner files reply Friday 3/28 by 12pm

        An expedited briefing schedule on Petitioner’s Mapp motion is necessary due to
extraordinary circumstances that require Mr. Khalil’s release in order to make the writ of
habeas corpus effective. If he continues to be detained, he will face severe harm by
possibly missing the birth of his first child and starting immigration proceedings far from
his attorneys in an immigration court in Louisiana due to Respondents’ unlawful conduct
which Petitioner is challenging in this matter. Petitioner disagrees with Respondents’
position that they should not have to address the Mapp claim until after this Court’s
decision on Respondents’ pending Motion to Dismiss or Transfer. Mapp is confined to
truly extraordinary circumstances and this Court has inherent authority to grant bail
pending the adjudication of a habeas claim. S.N.C. v. Sessions, No. 18-CV-7680, 2018
WL 6175902, at *7 (S.D.N.Y. Nov. 26, 2018) (holding the court need not resolve
jurisdictional arguments raised pursuant to Padilla before resolving a Mapp motion).
Respondents have been aware of Petitioner’s Mapp claims since the filing of the original
petition and should be able to move in an expedited manner on this matter.

        Similarly, there is no basis for the two weeks the government is requesting to
respond to Petitioner’s motion for preliminary injunctive relief. Despite this Court’s order
requesting “an expedited schedule,” the government has proposed a schedule permitting
them the maximum time allowed by the local rules, see Local Civil Rule 6.1. To the extent
Petitioner is released prior to the government’s filing in response to the preliminary
injunction, he is willing to amend the schedule.

Respondents’ Proposed Schedule

       Mapp v. Reno Motion

        Petitioner intends to file a motion under Mapp v. Reno. Respondents submit that
briefing on that motion should await the Court’s decision on Respondents’ pending Motion
to Dismiss or Transfer. The pending motion will be fully submitted on Monday, March
17, and may obviate the need for this Court to a decide the Mapp motion or, to the extent
this action is transferred to another court, then that court can consider the Mapp motion.
Accordingly, Respondents propose the following schedule:

   1. Petitioner files Friday 3/14 by 11:59pm

   2. Respondents file any opposition by 11:59 p.m. two business days after the Court
      rules on Respondents’ Motion to Dismiss or Transfer or by 11:59pm on Friday,
      March 21, whichever is sooner

   3. Petitioner files reply by 11:59pm one business day after Respondents file their
      opposition.

       Preliminary Injunction Motion

       Petitioner has filed a thirty-three page Amended Petition raising four separate
claims for relief, including constitutional claims and a claim under the Administrative

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Procedure Act. The Government requires time to research the legal issues presented,
prepare its opposition to the motion for a preliminary injunction, and obtain review of its
papers through several layers at the Department of Justice. Accordingly, we propose the
following briefing schedule for the PI:

   1. Petitioner files Monday 3/17 by 5pm

   2. Respondents file any opposition Monday 3/31 by 5pm

   3. Petitioner files reply Friday 4/4 by 5pm

       We thank the Court for its attention to this matter.


                                                   Respectfully,

                                                   MATTHEW PODOLSKY
                                                   Acting United States Attorney for the
                                                   Southern District of New York
                                                   Attorney for Respondents

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The Court hereby adopts Petitioner’s proposed briefing schedule for the motion for a
preliminary injunction. Petitioner shall file his motion for bail by tonight at 11:59
p.m. Respondents shall file any opposition to that motion by 11:59 p.m. one business
day after the Court rules on Respondents’ Motion to Dismiss or Transfer or by 11:59
p.m. on Wednesday, March 19, 2025, whichever is sooner. Petitioner shall file any
reply by 11:59 p.m. one business day after Respondents file their opposition.

                                                               SO ORDERED.



                                                               March 14, 2025




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